newman Case 2:97-cr-20244-BBD Document 100 Filed 06/10/05 Page 1 of ziaie|D 54
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for Fu.ar) ar _W\W o.o.

waslean DISTRICT or TENNESSEE 95 JUF‘~? !D PH 5= Uh

U.S.A. vs. Eric Rayford

 

COMES NOW Lorin J. Srnith, PROBATION OFFICER OF THE COURT presenting an official report upon the
conduct and attitude of Eric Rayjord, who was originally placed on supervision by the Honorable .I on P. McCalla, United
States District Judge, sitting in the Court at Memphis, Tennessee on the ‘_"_Z_§_th_ day of ;_May, 1_99_8, who fixed the period
of supervision at five 151 years**, and imposed the general terms and conditions theretofore adopted by the Court and
also imposed special conditions and terms as follows:

l. The defendant shall participate in substance abuse treatment and testing as directed by the probation officer.

2. The defendant shall continue to participated in a Drug Treatrnent Program. Further the defendant shall be
required to contribute to the costs of services for such treatment

* Judgment amended June 6, 1999 changing the term of incarceration from one hundred and fifty-one (151)
months to sixty-one (61) months.
** Original Term of Supervised Release began on May lO, 2002. On February 3, 2005 the Honorable Bemice
B. Donald sentenced Mr. Rayford to time served and imposed a term of Supervised Release for two (2) years
and seven (7) months.

RESPECTFULLY PRESENTING PETITION FOR ACTI()N OF COURT FOR CAUSE AS FOLLOWS:
SEE ATTACHED

PRAYING THAT THE COURT WILL ORDER that a WARRANT be issued for Eric Rayford to appear before the
United States District Court to answer to charges of Violation of Supervised Release.

BOND
ORDER OF COURT
/, I declare under penalty of perjury that the foregoing is
Considered and ordered this /0 day true and correct.
o , ZOLF, and ordered filed
an ade a part of the records in the above Executed
cas . on J;Irzé 61 =-j@()~l'/

 

  

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. robation Officer

U lted States District Judge

 

Place: Memnhis. Tennessee

This document entered on the docket heat in compliance
with Rule 55 and/or 32{b) FHCrP on *' " O

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RE: Eric Rayford
I)ocket No. 2:97CR20244-02
Probation Form 12
Page 2

THE DEFENDANT HAS VIOLATED THE FOLLOWING CONDITIONS OF SUPERVISED RELEASE:

The defendant shall not commit another federal, state or local crime.

On May 20, 2005 participated in the theft of a maroon OIdsmobile Ninety-Eight automobile Mr. Rayford states that
he was present when Eric Mitchell gained entry into the maroon vehicle by breaking the window. Mr. Rayford admits
that he followed the stolen car, driven by Eric Mitchell, to another location with Mr. Mitchell knowing the car to have
been stolen for the purposes of robbing a bank.

The defendant shall refrain from the unlawful use of a controlled substance

On April 9, 2005, Eric Rayford tested positive for the use of marijuana

The defendant shall not associate with anyone engaged in criminal activity and shall not associate with any person
convicted of a felony, unless granted the permission to do so by the probation officer.

ln a statement given May 20, 2005 to Cape Girardeau, MO Police Ofiicer Don Perry, Mr. Rayford states that he traveled

to Cape Girardeau, MO with Eric Mitchell. Mr. Mitchell is a convicted felon. Mr. Rayford did not have permission
from the probation officer to associate with Eric Mitchell.

The defendant shall not leave the judicial district without permission of the probation officer or the court.

On May 19, 2005, Eric Rayford left the Westem District of Tennessee and went to Cape Girardeau, MO without the
permission of the probation officer.

The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law
enforcement officer.

On May 20, 2005, Eric Rayford was questioned by the Cape Girardeau Police Department in regards to a bank robbery
that occurred that day. As of May 31, 2005, Mr. Rayford has failed to notify the probation officer of that questioning

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VI()LATION WORKSHEET

1. Defendant: Eric Ravford. 3821 Ladue Street. Memnhis. TN

2. Docket Number: 2:97CR20244-02
3. District/Oflian Western District of Tennessee, Memphis

 

4. Original Sentence Date May 28 1998
month day year

 

deijj"erenl than above).'
5. Original Distl'ict]Oflice:
6. Original Docket Number :

7. List each violation and determine the applicable grade {,s_c£ §7Bl.l}:

 

 

 

 

 

 

V iolationg s1 Grade

New Criminal Conduct: Automobile Theft B
Use of Drugs B
Association With A Convicted Felon C
Leaving the J udicial District C
Failure to Notify Probation Officer of Questioning by Law Enforcment C
8. Most Serious Grade of Violation Ls_eg §'7B1.1(b) B
9. Criminal History Category (§_e£ §7Bl.4(a))74 IV
10. Range of imprisonment (_se;e §7B1.4(a)) 12 - 18 months

 

 

 

Being originally convicted of a Class A Felony the Statutory Maximum is 60 months.
11. Sentencing Options for Grade B and C violations Only (Check the appropriate box):
{ } (a) If the minimum term of imprisonment determined under § 7Bl .4 (Term of Imprisonment) is at least one
month but not more than six months, § 7Bl .3(c)(l) provides sentencing options to imprisonment

{ } (b) if the minimum term of imprisonment determined under §7B l .4 (Term of Imprisonment) is more than six
months but not more than ten months, § 7Bl .3(c)(2) provides sentencing options to imprisonment

{X} (c) If the minimum term of imprisonment determined under § 7Bl .4 (Term of Imprisonment) is more than ten

months, no sentencing options to imprisonment are available.

Mail documents to: United States sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

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Defendant: Eric Rayford

12. Unsatisfied Conditions of Original Sentence

List any restitution, fine community continement, home detention, or intermittent confinement
Previously imposed in connection with the sentence for which revocation is ordered that remains

unpaid or unserved at the time of revocation { see § 7Bl .3(d)}:

Community Confrnement N/A

 

 

 

Restitution N/A

Fine N/A Horne Detention N/A

Other/Special Assessment N/A lntermittent Coniinement N/A
13. Supervised Release

lf probation is to be revoked, determine the length, if any, of the term of supervised release

according to the provisions of§ §SDI .l-I.S{seg § §7Bl.3(g) (l)}.
Terrn:

lf supervised release is revoked and the term of imprisonment imposed is less than the maxim term
of imprisonment upon revocation, the defendant may, to the extent permitted by law, be ordered to
recommence supervised release upon release from imprisonment { §e_e 18U.S.C.§3583(e) and

§7Bl.3(g) (2)}.

Period of supervised release to be served following release from imprisonment [__]

14. Departure

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of
imprisonment

§7Bl .4 (4) Where the original sentence was the result of a downward departure, or a charge
reduction that resulted in a sentence below the guideline range applicable to the defendant’s
underlying conduct, an upward departure may be warranted

Mr. Rayford’s sentence was reduced iit)m the originally ordered 151 to 61 months due to a 5Kl
reduction

15. Official Detention Adjustment {_s_@ §7B].3(e)}: |Adjust Months] months |Adiust Daysi days

Mail documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 100 in
case 2:97-CR-20244 was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

Thornas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

